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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                    Greenbelt Division

Kilmar Armando Abrego Garcia, et al.,

                       Plaintiffs,

v.                                                      Case No.: 8:25-CV-00951-PX

Kristi Noem, et al.,

                       Defendants.


                         Plaintiffs’ Response to Press Movants’ Motion
                            To Intervene and Unseal Court Records

       Plaintiffs respectfully respond to Press Movants’ motion to intervene and unseal court

records. ECF No. 108. Plaintiffs take no position on whether the Court should permit the Press

Movants to intervene and whether the Court should unseal court records.

       Plaintiffs defer to the Court’s judgment on these issues, but request that, should documents

be unsealed, any personally identifiable information (PII) be redacted consistent with Federal Rule

of Civil Procedure 5.2. Plaintiffs’ request is not intended to deny Press Movants or the wider public

access to information in this case, but is solely to protect the safety and privacy of Plaintiffs and

their family members. To be clear, Plaintiffs do not themselves request sealing of any filings other

than the redaction of PII consistent with Rule 5.2, nor do they concede that the Government has

made the requisite showing to maintain under seal documents the Government has designated as

confidential or otherwise sought to seal. Plaintiffs defer to the Court on the proper treatment of the

material addressed by this motion and otherwise reserve their rights.
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Dated: May 20, 2025

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